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                            UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF VIRGINIA

                                             Norfolk                Division

In re Sue C. Haycox                                                  Case No. 10-74734-FJS

                         Debtor(s)                                   Chapter 13


                         Plaintiff(s)                                AP No. [If applicable]

v.


                         Defendant(s)



                                   ORDER STRIKING PLEADING

        A Motion for Return of Unclaimed Funds                                   , having been filed by
Sue C. Haycox                        , on            10/2/2012           , and proponent
having failed to timely cure the deficiencies as set forth in the


Notice of Filing Deficiency pursuant to the provisions of LBR 5005-1(E)

it is, therefore

        ORDERED that the above pleading(s) is/are stricken from the record in the above-referenced
case or adversary proceeding.

                                                   WILLIAM C. REDDEN
                                                   Clerk of Court

Date: November 26, 2012                              /s/ Ada Harrell
                                                   By________________________________
                                                            Deputy Clerk


                                                   NOTICE OF JUDGMENT OR ORDER
                                                                      November 26, 2012
                                                   ENTERED ON DOCKET __________________




[ostrkpldg ver. 12/09]
